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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 CHARLESTON

       UNITED STATES OF AMERICA
                                      Plaintiff


       v.                                            CASE NO.: 2:22-cr-00154

       ANDRE DEWAYNE WILLIAMSON
                                      Defendant



            DEFENDANT'S MOTION FOR INDICATIVE RULING ON
                       MOTION FOR NEW TRIAL

              Comes now the defendant, Andre Williamson, by counsel Richard W.

       Weston and moves the Court according to Federal Rule of Criminal Procedure

       ("F.R.Crim.P. ") 37 to issue an indicative ruling on a motion for a new trial under

       F.R.Crim.P. 33. This motion's basis is a juror's untruthful voir dire answers that, if

       truthful, would have resulted in valid cause challenge.

       I.     BACKGROUND

              A Superseding Indictment charged drug and weapon violations against

       Williamson on December 6, 2022. (ECF Doc. 52). On March 23, 2023, he

       proceeded to trial in this Court and was convicted of all counts. (ECF Doc. 117). On

       April 5, 2023, Williamson, via trial counsel, filed his Motion for New Trial and

       subsequently filed a supplement to this motion. (ECF Docs. 123 & 140). The

       motions' grounds were three issues of prosecutorial misconduct. Id. The motions

       were denied on September 25, 2023. (ECF Doc. 165). Following sentencing,
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        Williamson filed his notice of appeal. (Docs. 171 & 178). The Fourth Circuit Court

        of Appeals relieved trial counsel and appointed undersigned counsel to prosecute

        the appeal. (Doc. 182). While this District Court retains limited jurisdiction during

        the pendency of an appeal under F.R.Crim.P. 35(a) and F.R.A.P 4(b), those

        circumstances are not present in this case. The Fourth Circuit Court of Appeals

       now has jurisdiction under its Case Number 23-4601.

               While preparing the appeal, new evidence was discovered which requires a

       new trial. As will be discussed below, the facts and legal grounds are separate and

       distinct from the grounds asserted in Mr. Williamson's previous motions for new

       trial. Because this Court does not currently have jurisdiction to consider a

       F.R.Crim.P. 33 motion for a new trial, Mr. Williamson moves this Court to act

       under F.R.Crim.P. 37, which provides, in relevant part:

       Rule 37. Indicative Ruling on a Motion for Relief That Is Barred by a Pending
       Appeal

          (a) RELIEF PENDING APPEAL. If a timely motion is made for relief that the
              court lacks authority to grant because of an appeal that has been docketed
              and is pending, the court may:

               (1) defer considering the motion;
               (2) deny the motion; or
               (3) state either that it would grant the motion if the court of appeals
               remands for that purpose or that the motion raises a substantial issue.


               A. The Juror's Evasion

               During voir dire, the jurors were asked numerous questions to determine

       their fitness. The questions included:




                                                 2
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                  Ladies and gentlemen, are you, or any member of your immediate
                  family, employed by or connected in any way with any agency of
                  government, with any agency of government having to do with law
                  enforcement?

                  Ladies and gentlemen, aside from that, are any of you acquainted
                  with anyone who serves on the staff or as an Assistant United States
                  Attorney in the United States Attorney's Office in this district?

                  Ladies and gentlemen, are you, or -- have you, or any member of
                  your immediate family, ever been involved with any conflict,
                  controversy, or litigation with any department or agency of the
                  United States, whether it's the United States Attorney's Office or
                  any other agency of the government of the United States?

        Andre Williamson, Voir Dire Tr. at 34, 52, 66 (March 21, 2023)(Exhibit 1).

                                     served on the jury and voted to convict Mr. Williamson.

        See Williamson, Voir Dire Tr. at 130; Andre Williamson, Trial Tr. at 344 (March

        21, 2023)(Exhibit 2). - I            I answered    yes to the first question of being

        employed in law enforcement. Williamson, Voir Dire Tr. at 26. He responded

        negatively to the other two questions. Williamson, Voir Dire Tr. at 52, 66. After

        these general answers, the Court questioned -                 about his previous law

        enforcement experience. Williamson, Voir Dire Tr. at 103. -                responded

        that he is "a retired police

                    Williamson, Voir Dire Tr. at 26. He then recounted his career working

        for the         Police Department,                        Sherriff' s Department, and

                       olice Department. Williamson, Voir Dire Tr. at 26. Defense counsel

        questioned him further-I             I detailed   his prior work using confidential

        informants for drug purchases and listed many of the departments he associated

        with on drug task forces, including the                        Police and the



                                                   3
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                    Sheriff's Department. Williamson, Voir Dire Tr. at 103-5. He worked with

        the drug task force "until 2012, when I retired." Williamson, Voir Dire Tr. at 104.

        He assured the Court that, despite his previous work with confidential informants,

        he could be impartial and his prior experience would enhance "whether they've

        (law enforcement) done right or wrong ... " Williamson, Voir Dire Tr. at 105. No

        motion was made to strike -                    and he ultimately voted to convict Mr.

        Williamson.

                    B.




        Juror   I        Iwas deeply entangled in this saga I
                                                             Exhibit 6, <ff 3. He investigated the

        murder case against

                                    He then swiftly resigned as




                                                   4
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                During this period, the FBI's investigation

                     led to a guilty plea in a scheme involving numerous

                     Exhibit 6.




                                                                            and others went

        to federal prison over this scheme. I       Iwas never charged.

               When               'llegality was revealed,

                                                              was immediately fired. Exhibit

        7.

                                                                  the charges against




                                                   5
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        were dismissed because "                                                       Id.




                                                   authorities promptly notified the FBI about

        these boxes and they were turned over to federal investigators. Id. Assistant U.S.

        Attorney                stated his office was
                                                                                                ))




        Id. Again,   I     Iwas never charged with a crime although, upon information and
        belief, he did receive a target letter.

        II.     ARGUMENT

                Mr. Williamson asks this Court to issue an indicative ruling on this

         F.R.Crim.P. 33 motion for new trial. Specifically, he requests a ruling that the

         motion raises a substantial issue requiring remand so this Court has jurisdiction to

         decide the issue on the merits. See F.R.Crim.P. 37(a)3). This motion is made under

         F .R. Crim.P. 33 (b) (1) which states that a new trial motion based on newly discovered

         evidence is timely if filed within 3 years after the guilty verdict. The defendant was

         not aware of any of the above information but would have been if             I
         truthfully answered the voir dire questions. Furthermore, this evidence is only

         known to the undersigned counsel as he represented

                A substantial issue is raised because truthful answers would have resulted in

         a cause strike. In the Fourth Circuit, as this Court is well aware, "to obtain a new

         trial. .. a party must first demonstrate that a juror failed to answer honestly a material




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            question on voir dire, and then further show that a correct response would have

            provided a valid basis for a challenge for cause." United States v. Loughry, 983 F.3d

            698,709 (4th Cir. 2020)(citingMcDonoughPwr. Equip. v. Greenwood, 464 U.S. 548,

            556 (1984); Conaway v. Polk, 453 F.3d 567,585 (4th Cir. 2006)).

               (1) Failure to honestly answer a material question

                             I's untruthfulness began when he repeatedly referred to himself as a

        retired police            Williamson, Voir Dire Tr. at 25-6. He identified himself as "a

        retired police                                           "and when asked by the Court ifhe

        was "retired now" he responded "[y]es, sir, I am. Williamson, Voir Dire Tr. at 26.

        Later when he was asked what years he worked on a drug task force he responded

        that he worked on it until retirement. Williamson, Voir Dire Tr. at 104. According

        to Black's Law Dictionary, "retired" is "the act of being in retirement from working

        and with no plans to return to work. 3 " -                     did not retire from the

                        lwithout plans to return to work. Instead, he immediately began working

        for the                               Department. Exhibit 7. And then he was quickly fired

        from that position for apparent malfeasance. Exhibit 7.

               Even more troubling is    I       I's answer that he had never been "involved in any

        conflict, controversy, or litigation with any department or agency of the United

        States ... " Williamson, Voir Dire Tr. at 66. While he may have never been in actual

        litigation with the FBI or the U.S. Attorney's office, the article displays he was at the

        least involved in a conflict and controversy. U.S. Attorney                   stated there was a



        3
            Black's Law Dictionary, accessed December 4, 2023, https://thelawdictionary.org/retired/


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        federal investigation into                                         evidence. Exhibit 7.

        The evidence that     I                                        turned over to federal

        investigators. Exhibit 7. This investigation could only have been centered on

               I's actions. Furthermore, upon information and belief, -                received a

        target letter from the                                       United States Attorney's

        Office. Because he was never charged with a crime, the target letter receipt suggests

        he met with federal law enforcement and/ or U.S. Attorneys

                                                             scandal. If true, this would also

        make his answer untrue that he was not acquainted with anyone in the United States

        Attorney's office.

            (2) The correct response would have provided a valid basis for a challenge for
                cause

            There does not appear to be a precise statutory, or caselaw, definition of the legal

        requirement for a strike for cause. The best guidance comes from Patton :v. Yount and

        focuses on whether the juror was biased or impartial. 467 U.S. 1025, 1038 (1984).

        This determination of bias is "essentially one of credibility." Id.   I       Istated that
        he could be impartial in light of his prior law enforcement experience and it "would

        probably enhance whether they've (law enforcement) done right or wrong." Voir

        Dire Tr. at 26. This statement made by a retired officer with an unblemished record

        could be reasonably relied upon. But   I       Iwas neither retired nor unblemished-
        he was fired as       deputy while neck-deep in a                         scheme to

                                                        the evidence from the

                           as then investigated by the federal government. Exhibit 7. A law



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        enforcement officer

                                   ould likely sympathize with other officers who may bend

        the rules and regulations. It is highly unlikely he was an unknowing participant in

                                                                                 of his later

                                                                     of the evidence.

                This is not merely a hypothetical discussion about truthfulness in Mr.

        William's case. His defense centered on the claim that the law enforcement officer

        conducting his controlled buys acted like a "cowboy," disregarding the established

        rules and regulations for handling confidential informants resulting in untrustworthy

        evidence. Trial Tr. at 300. The "cowboy," Detective Daniels, had previously made

        statements with reckless disregard for the truth in a search warrant application. Trial

        Tr. at 61. In Mr. William's case, Daniels handled a confidential informant who was

        caught stealing "buy" money. Trial Tr. at 93. And Daniels continued to use the

        confidential informant to make "controlled" buys even after this theft. If ever there

        was a juror who should not have served on this particular jury, - w a s it. He

        could not have been impartial because his sympathies would have been with law

        enforcement that used questionable tactics potentially resulting in compromised

        evidence. Additionally, given that -              failed to answer several questions

        truthfully, his statement that he could be impartial does not pass the Patton test of

        credibility. Hadj      Ianswered the questions truthfully, several valid bases existed
        for making a valid challenge for cause.




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         III.       REQUEST

         Based on the above, Mr. Williamson asks this Court to:

         (a) Appoint undersigned counsel, nunc pro tune, starting with drafting this motion,
             for the limited purpose of prosecuting this motion for indicative ruling and
             motion for new trial.

         (b) Issue an Indictive Ruling that this motion raises a substantial issue that requires
             remand so this Court has jurisdiction to decide the issue on the merits under
             F.R.Crim.P. 37(a)3).

         (c) Order the                                     United States Attorney's Office
             and the Federal Bureau of Investigation to produce any and all files related to
                I       ~
         (d) Order the               Police Department and
             Department to produce the personnel and any disciplinary files
             determine the timing and circumstances of his quitting the
             Department, joining the                    Sheriff's Department, and his
             subsequent termination.

         (e) Allow additional briefing on the motion for new trial once the above evidence is
             received.

         (f) Ultimately, grant Mr. Williamson a new trial.



        Respectfully submitted,
        By counsel:




        S·
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                    CHARLESTON

         UNITED STATES OF AMERICA
                                      Plaintiff

         v.                                         CASE NO.: 2:22-cr-00154

         ANDRE DEWAYNE WILLIAMSON
                                      Defendant


                               CERTIFICATE OF SERVICE

                 I, Richard Weston, counsel for the defendant, do hereby certify that on
         this 7th day of December 2023, I electronically filed "DEFENDANT'S
         MOTION FOR INDICATIVE RULING ON MOTION FOR NEW TRIAL"
         with the Clerk of the Court using the CM/ECF system which will send electronic
         notice of such filing to the following CM/ECF participant:

         Joshua Hanks at josh.hanks@usdoj.gov.


         S:/1 Richard W. Weston
         Richard W. Weston (9734)
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      1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
      2                                AT CHARLESTON

      3
             - - - - - - - - - - - - - - - -X
      4      UNITED STATES OF AMERICA,
                                                        CRIMINAL NO.
     5                     Plaintiff,                   2:22-cr-00154

     6                          -vs-

     7       ANDRE DEWAYNE WILLIAMSON,

     8                     Defendant.

     9
            - - - - - - - - - - - - - - - - -x         VOIR DIRE


    10                    TRANSCRIPT OF JURY TRIAL PROCEEDINGS,
                      BEFORE THE HONORABLE JOHN T. COPENHAVER, JR.,
    11                      SENIOR UNITED STATES DISTRICT JUDGE
                                       MARCH 21, 2023
    12

    13

    14      APPEARANCES:
            FOR THE PLAINTIFF:               AUSA JULIE M. WHITE
    15                                       AUSA JOSHUA C. HANKS
                                             Assistant United States Attorneys
    16                                       U.S. Attorney's Office
                                             P.O. Box 1713
    17                                       Charleston, WV 25326-1713

    18

    19      FOR THE DEFENDANT:               TIM C. CARRICO, ESQUIRE
                                             214 Capitol Street
    20                                       Suite 100
                                             Charleston, WV 25301
    21

    22             Proceedings recorded by mechanical stenography,
            transcript produced by computer.
    23

    24                      CATHERINE SCHUTTE-STANT, RDR, CRR
                             Federal Official Court Reporter
    25                     300 Virginia Street East, Room 6009
                                  Charleston, WV 25301

                     Catherine Schutte-Stant, RDR, CRR (304) 347-3151
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     1       towards the jurors just a moment, please.

     2               (Defendant, Andre Dewayne Williamson, stands.)

     3                    THE COURT:      Thank you, Mr. Williamson.           And you

     4       may be seated.

     5               Ladies and gentlemen, are any of you related by blood

     6       or marriage to the defendant, Andre Williamson?

     7                    PROSPECTIVE JURORS:           No.

     8                    THE COURT:      Let's try that again, because that

     9       wasn't exactly a chorus.

    10               Ladies and gentlemen, are any of you related by blood

    11       or by marriage to Mr. Williamson?

    12                    PROSPECTIVE JURORS:           No.

    13                    THE COURT:     Are any of you acquainted with Mr.

    14      Williamson?

    15                    PROSPECTIVE JURORS:           No.

    16                    THE COURT:      Have any of you ever heard of Mr.

    17      Williamson before he's just now being introduced to you?

    18                    PROSPECTIVE JURORS:           No.

    19                    THE COURT:      I would ask, ladies and gentlemen,

    20      whether or not you, or any member of your immediate

    21      family -- and I'm going to define immediate family for you

    22      now, because it applies throughout these many questions that

    23      will be asked of you.

    24               By immediate family,      I mean you, or your spouse, or

    25      your live-in companion, or anyone who lives in your same


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     1       household, as well as anyone who is a sister or brother, who

     2       is a parent, anyone else, as I say, who is in your same
                          ,
     3       household living with you.

     4               And with that in mind for immediate family, have you,

     5      or any member of your immediate family, ever been

     6      employed as a law enforcement officer in any capacity?

     7                        PROSPECTIVE JURORS:           No.

     8                        PROSPECTIVE JUROR:        Yes.

     9                        THE COURT:      Yes, ma'am.         And please stand and give

    10      us your name.

    11               Thank you.      Yes, ma'am.

    12                        PROSPECTIVE JUROR:        I'm trying to get it.

    13                    THE COURT:         When you speak, it might be well that

    14      you remove your mask for just that purpose.

    15                        PROSPECTIVE JUROR:                                         My

    16      son is a police officer for Barboursville Police Department.

    17                    THE COURT:         And in what capacity does he serve?

    18                    PROSPECTIVE JUROR:            He's a patrolman.

    19                    THE COURT:         How long has he been in that position?

    20                    PROSPECTIVE JUROR:            For Barboursville, three

    21      years.     Before that, Marshall University, two years.

    22                    THE COURT:         And what did he do at Marshall?

    23                    PROSPECTIVE JUROR:            Police, patrolman.

   24                     THE COURT:         And so he's been in service then for

   25       about five years?


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     1                    PROSPECTIVE JUROR:        That is correct.

     2                    THE COURT:      Thank you.

     3               Yes, sir.

     4                    PROSPECTIVE JUROR:                                 My

     5       brother-in-law is -- he retired as a Vienna police officer.

     6                    THE COURT:      And he served on the town of Vienna's

     7       police force?

     8                    PROSPECTIVE JUROR:        He was in the sheriff's office

     9       for a while, and then he went to the City of Vienna.

    10                    THE COURT:      I would ask the same question of both

    11       of you, and you first, sir; would that have any bearing upon

    12       your ability to serve as a fair and impartial juror in the

    13       trial of this case?

    14                    PROSPECTIVE JUROR                  No.

    15                    THE COURT:      Thank you.

    16               And, ma'am, the same question?

    17                    PROSPECTIVE JUROR                     Yes.

    18                    THE COURT:      You say it will have a bearing?

    19                    PROSPECTIVE JUROR:        Yes.

    20                    THE COURT:     Well, I'm going to ask you to tell me

    21      more about that later on.

    22                    PROSPECTIVE JUROR:        Okay.

    23                    THE COURT:     Thank you.

    24               Any other hand up?

    25               Yes, sir.


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     1                       PROSPECTIVE JUROR:        My name is                     My

     2       number is Juror Number           I·     I'm a retired                    for

     3       the

     4                       THE COURT:      And how long did you serve in that

     5       capacity?

     6                       PROSPECTIVE JUROR:                     -- I served two years

     7       as               Prior to that, I came up through the ranks,

     8       started as patrolman, and made sergeant, lieutenant, and

     9       later became chief.

    10               Prior to that, I worked for                         Sheriff's

    11       Department in                                          deputy sheriff

    12       there.     Prior to that, with the                    Police Department, in

    13

    14                       THE COURT:      How long have you been a police

    15      officer?

    16                       PROSPECTIVE JUROR:        33 years.

    17                       THE COURT:     And retired now?

    18                       PROSPECTIVE JUROR:        Yes, sir, I am.

    19                       THE COURT:     Thank you.      Would that experience have

    20      any bearing upon your ability to serve as a fair and

    21      impartial juror in the trial of this case?

    22                       PROSPECTIVE JUROR:        No, sir.     No, sir, it

    23      wouldn't.

    24                       THE COURT:     Thank you.

    25               Lynn.


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     1       ability to serve as a fair and impartial juror in the trial

     2       of this case?

     3                    PROSPECTIVE JUROR:        No, sir.

     4                    THE COURT:      Thank you.

     5               Ladies and gentlemen, aside from that, are any of you

     6       acquainted with anyone who serves on the staff or as an

     7      Assistant United States Attorney in the United States

     8      Attorney's Office in this district?

     9                    PROSPECTIVE JURORS:           No.

    10                    PROSPECTIVE JUROR:        Yes.

    11               (Hands raised.)

    12                   THE COURT:      And that is other than what you've

    13      already answered.        And so there may be two hands up.

    14                   PROSPECTIVE JUROR:                                             I

    15      am personally acquainted, we're friends and neighbors with

    16      Troy Adams, who works here in this office.

    17                   THE COURT:      As a member of the staff?

    18                   PROSPECTIVE JUROR:         Yes, sir.      He's in the U.S.

    19      Attorney's staff.        I think he's in the prosecutor's office.

    20                   THE COURT:      Would that have any bearing on your

    21      ability to serve as a fair and impartial juror in the trial

    22      of this case?

    23                   PROSPECTIVE JUROR:         No, sir.

    24                   THE COURT:      Thank you.

    25                   PROSPECTIVE JUROR:


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      1              Yes, one more.

      2                   PROSPECTIVE JUROR:                                            My

      3      son was in North Central Regional Jail for a week, out on

      4      bond.     And I believe the case has been dropped.

      5                   THE COURT:     And you believe what?

      6                   PROSPECTIVE JUROR:       I believe the case has been

     7       dropped now.     So --

     8                    THE COURT:     And any bearing on your ability to

     9       serve in this case as a fair and impartial juror?

    10                    PROSPECTIVE JUROR:       No, Your Honor.

    11                    THE COURT:     Thank you.

    12               Ladies and gentlemen, are you, or -- have you, or any

    13      member of your immediate family, ever been involved with any

    14       conflict, controversy, or litigation with any department or

    15       agency of the United States, whether it's the United States

    16      Attorney's Office or any other agency of the government of

    17       the United States?

    18                    PROSPECTIVE JURORS:          No.

    19                   THE COURT:      And have any of you expressed, or do

    20      any of you have any strong sentiment now about the justice

    21      of any recent prosecution brought by the United States

    22      Attorney's Office in this district?

    23                    PROSPECTIVE JURORS:          No.

    24                   THE COURT:     Have any of you ever had a dispute

    25      with any of the following agencies:               the Charleston Police


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      1                   MS. WHITE:      No, Your Honor.       Thank you.

      2                   MR. CARRICO:       No, sir.

      3                   THE COURT:                    , please don't discuss

      4      anything with any of the other jurors in the small group in

      5      the jury room you are going back to or the panel at large,

      6      for that matter.

     7               The Court is particularly concerned that, until this

     8       jury is selected, that you not have any discussion with

     9       anyone about the substance of the case or anything we've

    10       discussed in here.

    11               Thank you, sir.

    12                    PROSPECTIVE JUROR:        Thank you.

    13               (Prospective Juror                                 left the

    14       courtroom. )

    15                    THE COURT:      Next?

    16                    MR. CARRICO:      Juror Number        , Mr.

    17

    18               (Prospective Juror                            entered the

    19      courtroom.)

    20                    THE COURT:     Thank you, sir.

    21               Counsel may have a few questions to ask of you, and I'm

    22      going to ask Mr. Carrico to begin.

    23                   MR. CARRICO:       Thank you, sir.

    24                                       EXAMINATION

    25      MR. CARRICO:


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     1       Q.      Sir, I just have a few follow-up questions, really

     2       based on the extent of your employment and previous law

     3       enforcement experience.

     4               In your years as -- were you the                       Police for a

     5       period of time?

     6      A.       Yes, sir.     I was the                  Police there.    I also

     7       headed up the drug task force between                              and our

     8       department and several other departments.

     9                      THE COURT:      Let me ask, if you will, while you're

    10       in here, you may remove your mask.

    11                      PROSPECTIVE JUROR:        Okay.    Thank you.

    12                      THE COURT:      Thank you.

    13      BY MR. CARRICO:

    14      Q.       And what was the name of the task force at the time?

    15      A.       Well, we didn't have -- it wasn't -- it was an unnamed

    16      task force.        It wasn't one, per se, that's been sponsored by

    17      the state.        It was a volunteer type task force that we would

    18      pull members from that work different areas of the county.

    19      Q.       What years?

    20      A.       Shoot -- a lot of years, a long time.             Let's see -- up

    21      until           , when I retired.

    22      Q.       And were you doing the drug investigation work up until

    23      that time?

    24      A.       Yes.   Yes, sir.

    25      Q.       And what -- what police agencies did you work with?


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      1      A.                              Police, worked with DEA some, and

      2      worked with, of course, our department,                      Task Force

      3

      4                                                              Department.

      5      Q.      And I know that you've heard, since these proceedings

      6      started, there has been reference to a confidential

     7       informant?

     8       A.      Yes.

     9       Q.      And in your experience, did you ever deal with

    10       investigating crime and using a confidential informant?

    11      A.       Many.

    12       Q.      Many?

    13      A.       Yes, many.

    14      Q.       So, obviously, you're familiar with how that works?

    15      A.       Yes.     Yes, sir, I do.

    16      Q.       And the process and procedures that are to be followed

    17      and whatnot?

    18      A.       Yes.

    19      Q.       Would that experience in any way affect your ability or

    20      affect you or permit you from being impartial in this case

    21      in determining the issues?

    22      A.       No.     I don't think that it would.       If anything, it

    23      would probably enhance whether they've done right or done

    24      wrong.         So --

    25      Q.       And when you were working drug cases, was -- what was


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     1       -- let's say, when you retired, what was the primary

     2       substance that was being used at that time in the community?

     3      A.       Then, it was crack cocaine.          And then       I had bought

     4       fentanyl at one time, bought it out of a hospital from a

     5       patient actually, a fentanyl patch.              But crack cocaine,

     6       cocaine, and a wide variety of pills, painkillers, Lortab,

     7       Oxycodone, things like that.            So that was -- and some

     8      marijuana.       But most of it was pills and coke and crack.

     9      Q.       And in your employment status, you weren't involved in

    10       assisting people that were suffering from drug addiction or

    11       anything like that, did you?

    12      A.       No.   No, I didn't.

    13      Q.       Sir, I don't have any other questions.             Thank you.

    14                     MS. WHITE:      I have no questions, Your Honor.

    15      Thank you.

    16                     THE COURT:            , just be seated there a second.

    17                     PROSPECTIVE JUROR:        Oh, I'm sorry.

    18                     THE COURT:     Are you completely satisfied that you

    19      can serve as a fair and impartial juror in the trial of this

    20      case?

    21                     PROSPECTIVE JUROR:        Yes, sir.

    22                     THE COURT:     There is no doubt in your mind about

    23      that?

    24                     PROSPECTIVE JUROR:        No doubt in my mind, Your

    25      Honor.


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     1                    THE COURT:      Thank you, sir.

     2               Any other questions?

     3                    MS. WHITE:      No, thank you.

     4                    MR. CARRICO:      No, sir.       Thank you.

     5                    THE COURT:      Thank you, sir.        Please, when you go

     6       back in with the other jurors, don't mention anything that

     7       we've discussed here.

     8                    PROSPECTIVE JUROR:         Absolutely.

     9                    THE COURT:      Thank you.

    10               (Prospective Juror                             left the

    11       courtroom.)

    12                    THE COURT:      Next.

    13                    MR. CARRICO:      Number      I, Your Honor. That would
    14      be

    15                    THE COURT:      Let me ask you about                     before

    16      he comes in.         He's got a root canal tomorrow; are you going

    17      to let him have it?

    18               We can discuss that in a moment.

    19               (Prospective Juror                            entered the

    20      courtroom. )

    21                    THE COURT:     Go ahead.

    22                                       EXAMINATION

    23      BY MR. CARRICO:

    24      Q.       Yes, sir.                    again, I'm Tim Carrico, and I

    25      represent Mr. Williamson.             I just have a few questions I


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      1      Court and the Jury Clerk.)

      2                   THE CLERK:     As I call your name, you may get up

      3      and move to the far side of the courtroom, please.

      4

      5

      6

      7

      8

      9

    10               As I call your name, I'm going to have you come up here

    11       to make sure we got in the jury box here:

    12

    13       you'd come up to the third seat, please.

    14                      you'll go to Seat Number 4.

    15                                   will be Seat Number 5.

    16                                 Seat Number 6.      You can go this way.

    17               Seat Number 7,

    18                                     are in Seat Number 8,

    19                                   , Seat Number 9 here.

    20

    21

    22                         , you can have a seat.

    23                           , Seat Number 12 there.

    24

    25


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      1              The jurors have been seated.

      2              (An off-the-record discussion was held between the

      3      Court and the Jury Clerk.)

      4                    THE CLERK:      The alternates for this case are

      5      the first alternate                             , and the second

      6      alternate is

     7               If the parties would approach the bench, please.

     8               (Sidebar).

     9               (All parties present and the defendant.)

    10                     THE COURT:      Do the parties have any objection to

    11       the composition of the jury, the qualifications of any

    12       member of the jury, or the manner of its selection?

    13                     MS. WHITE:      No, Your Honor.

    14                     MR. CARRICO:      No, sir.

    15                     THE COURT:      We'll give them a few instructions,

    16       and then we will recess for lunch.

    17               Thank you.

    18                                     Thank you.

    19               ( Sidebar ends . )

    20               ( Open court . )

    21               (An off-the-record discussion was held between the law

    22      clerk and the Court.)

    23               (Pause.)

    24                    THE COURT:      Unfortunately, we are going to be

    25      delayed for a few more minutes.              And we'll simply have to


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 11

       1                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
       2                                 AT CHARLESTON

       3
              - - - - - - - - - - - - - - - -X
       4      UNITED STATES OF AMERICA,
                                                           CRIMINAL ACTION NO.
       5                     Plaintiff,                    2:22-cr-00154

       6                             -vs-

       7      ANDRE DEWAYNE WILLIAMSON,

       8                     Defendant.
                                                        x VOLUME I
       9

      10                          JURY TRIAL PROCEEDINGS,
                       BEFORE THE HONORABLE JOHN T. COPENHAVER, JR.,
      11              SENIOR UNITED STATES DISTRICT JUDGE, and a jury,
                                       MARCH 21, 2023
      12

      13

      14      APPEARANCES:
              FOR THE PLAINTIFF:                AUSA JULIE M. WHITE
      15                                        AUSA JOSHUA C. HANKS
                                                Assistant United States Attorneys
      16                                        U.S. Attorney's Office
                                                P.O. Box 1713
      17                                        Charleston, WV 25326-1713

      18

      19      FOR THE DEFENDANT:                TIM C. CARRICO, ESQUIRE
                                                214 Capitol Street
      20                                        Suite 100
                                                Charleston, WV 25301
      21

      22             Proceedings recorded by mechanical stenography,
              transcript produced by computer.
      23

      24                      CATHERINE SCHUTTE-STANT, RDR, CRR
                               Federal Official Court Reporter
      25                     300 Virginia Street East, Room 6009
                                    Charleston, WV 25301

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                                           DANIELS - CROSS



      1      way I worded it when I presented it to that judge.

      2      Q.      Well, that information he found was false, it was

      3      incorrect information, false information that you put in the

      4      affidavit?     He found that in his opinion?

      5      A.      That it was false?

      6      Q.      Yes.

      7      A.      That it was false?

      8      Q.      That it was false information, meaning it was incorrect

      9      information.     And then the second finding he made is, at a

    10       minimum -- "at a minimum, the record very clearly supports a

    11       finding that Detective Daniels acted with reckless disregard

    12       for the truth when he stated in the warrant affidavit that"

    13       -- Ms. Dunlap's -- "Ms. Dunlap delivered fentanyl to Mr.

    14       Lark when he knew that no delivery or exchange had taken

    15       place."

    16               You don't remember that?

    17      A.       That portion, yes, sir, I do.        And, again, I respect

    18       Judge Goodwin's opinion completely.           But, again, the judge

    19       that I swore that warrant in front of stated that he was

    20       completely aware that that package wasn't actually placed in

    21       the defendant's hands.       So the judge I raised my hand and

    22       swore in front of was aware of the facts.            But Judge Goodwin

    23      didn't like the way I worded that.

    24      Q.       That was a magistrate across the street, the Kanawha

    25      County Magistrate Court, correct?


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                                        DANIELS - CROSS (RESUMED)



     1      money, correct?

     2      A.       Well, yes, sir, so, that

     3      Q.       Well, you either did, or did you not?

     4      A.       I did, yes, sir.      So I didn't charge him with the petit

     5      larceny.      I charged him with obstruction.           If I would have

     6      put the petit larceny -- we try to, basically, keep our CI

     7      as safe as possible.         Had I charged him with the petit

     8      larceny, I would have had to put in that criminal complaint

     9      that he was buying drugs for the Metro Drug Unit and then he

    10      stole money while doing that.              So the reason I charged him

    11      with the hindering the investigation is he -- basically,

    12      that buy money is considered evidence.              He concealed that

    13      evidence.      And I charged him for the obstruction rather than

    14      put all that in a criminal complaint and then put him out in

    15      the jail with people that he's possibly worked cases with in

    16      the past.

   17       Q.       Well, he did commit a crime, didn't he?

   18       A.       Yes, he concealed the evidence.          He concealed that

   19       currency, he did, yes, sir.

   20       Q.       And he did steal the money?

   21       A.       He did, yes, sir.     He ultimately returned that money,

   22       but he did conceal that money that day.

   23       Q.       And he wasn't prosecuted for that, correct?

   24       A.       That is correct.     Ultimately, we dismissed those

   25       charges against Mr. Collins.


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     1      gets a search warrant.         He goes in with the search warrant

     2      and finds meth and money.          He doesn't get charged.

     3               But a critical thing in the case            that's why I kept

     4      asking, "Did you talk to a prosecutor?"              "Did you talk to a

     5      prosecutor?"

     6               "I don't remember."

     7               There was no oversight from any -- any prosecuting

     8      attorney related to these charges that he's picking up, and

     9      they're getting dismissed.

    10               Effectively, what's going on is, he's acting like he's

    11      a cowboy, with no checks and balances in effect.                Nothing.

    12      And where it meshes together -- or where I'm confused from

    13      the evidence is, is he working off charges, or is he just --

   14       is what he's doing making purchases to work off charges or

   15       is he working, doing purchases to make money, or is he

   16       working off charges and getting paid to work off charges?

   17                That's what it sounds like from the testimony.

   18                And we also know -- my understanding is there were 36

   19       controlled purchases he was involved in.             The CI said there

   20       is more, I guess, that he didn't get paid for, allegedly,

   21       but I guess they're undocumented.

   22                But, most importantly, Officer Daniels knew what he was

   23       dealing with when Mr. Collins came in.             He knew the drug

   24       addiction issues.        Then he picks up a DUI.        So we know he's

   25       a danger, and he's exposing people in the community.                That


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    1

    2                                                    Honor.

    3

    4                                                    Honor.

    5

    6                    JUROR                          Honor.

    7

    8                    JUROR                          Honor.

    9

   10                    JUROR                           Honor.

   11                                                        ?

   12                    JUROR                          Your Honor.

   13                    THE COURT:

   14                                      Yes, Your Honor.

   15                    THE COURT:                      ?

   16                    JUROR                         Your Honor.

   17                    THE COURT:

   18                    JUROR            Yes, Your Honor.

  19                     THE COURT:     Let me ask the parties whether or not

  20       you have anything further before the jury is excused?

  21                     MS.            No, Your Honor.          Thank you.

  22                     MR. CARRICO:     No, sir.     Thank you.

  23                     THE COURT:     The clerk will record the verdict.

  24             Ladies and gentlemen, on behalf of the parties and the

  25       Court, I want to thank you for being with us these three


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